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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

CODY STAYLER, individually                   )
and on behalf of similarly situated          )
persons,                                     )
                                             )   Case No. 2:16-cv-1235-RMG
                          Plaintiff,         )
                                             )   JURY TRIAL DEMANDED
   v.                                        )
                                             )
ROHOHO, INC.,                                )
                                             )
                          Defendant.         )


                                         COMPLAINT

   Plaintiff Cody Stayler, individually and on behalf of all other similarly situated delivery

drivers, for his Complaint against Defendant, alleges as follows:

   1. Defendant RoHoHO, Inc. (hereinafter “RHH”) operates approximately 55 Papa John’s

franchise stores in states including South Carolina, Kentucky and Florida. RHH employs delivery

drivers who use their own automobiles to deliver pizza and other food items to its customers.

Instead of reimbursing delivery drivers for the reasonably approximate costs of the business use

of their vehicles, RHH uses a flawed method to determine reimbursement rates that provides such

an unreasonably low rate beneath any reasonable approximation of the expenses they incur that

the drivers’ unreimbursed expenses cause their wages to fall below the federal minimum wage

during some or all workweeks.

   2. Plaintiff Cody Stayler brings this lawsuit as a collective action under the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., to recover unpaid minimum wages owed to him

and similarly situated delivery drivers and non-supervisory employees employed by RHH at its

Papa John’s stores.
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                                       Jurisdiction and Venue

    3. The FLSA authorizes court actions by private parties to recover damages for violation of

its wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claim is based on 29 U.S.C. §

216(b) and 28 U.S.C. § 1331 (federal question).

    4. Venue in this District is proper under 28 U.S.C. § 1391 because RHH maintains its

principal place of business in this District, RHH operates Papa John’s franchise stores in this

District, and a substantial part of the events giving rise to the claim herein occurred in this District.

                                                Parties

    5. Defendant RoHoHO, Inc. is a South Carolina company maintaining its principal place of

business at 1479 Tobias Gadson, Charleston, South Carolina, which is located within the

Charleston Division of the District of South Carolina. RHH operates a chain of Papa John’s

restaurants in states including South Carolina, Kentucky and Florida, and is deemed an employer

under the FLSA.

    6. Plaintiff Cody Stayler, a resident of Berkeley County, South Carolina, is and has been

employed by RHH since about October 2015 as a delivery driver at RHH’s Papa John’s store

located at 1525 Old Trolley Road in Summerville, South Carolina. He was also previously

employed as a delivery driver at RHH’s Papa John’s store at the same location from June/July

2012 to March/April 2014. Plaintiff Stayler’s consent to pursue this claim under the FLSA is

attached to his original Complaint as “Exhibit 1.”

                                         General Allegations

RHH’s Business

    7. RHH owns and operates approximately 55 Papa John’s franchise stores in states including

South Carolina, Kentucky and Florida




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   8. RHH’s Papa John’s stores employ delivery drivers who all have the same primary job duty:

to deliver pizzas and other food items to customers’ homes and workplaces.

RHH’s Flawed Automobile Reimbursement Policy

   9. RHH requires its delivery drivers to maintain and pay for safe, legally-operable, and

insured automobiles when delivering pizza and other food items.

   10. RHH’s delivery drivers incur costs for gasoline, vehicle parts and fluids, repair and

maintenance services, insurance, depreciation, and other expenses (“automobile expenses”) while

delivering pizza and other food items for the primary benefit of RHH.

   11. RHH’s delivery driver reimbursement policy reimburses drivers on a per-delivery basis,

but the per-delivery reimbursement equates to far below the IRS business mileage reimbursement

rate or any other reasonable approximation of the cost to own and operate a motor vehicle. This

policy applies to all of RHH’s delivery drivers.

   12. The result of RHH’s delivery driver reimbursement policy is a reimbursement of much less

than a reasonable approximation of its drivers’ automobile expenses.

   13. During the applicable FLSA limitations period, the IRS business mileage reimbursement

rate ranged between $.54 and $0.575 per mile. Likewise, reputable companies that study the cost

of owning and operating a motor vehicle and/or reasonable reimbursement rates, including the

AAA, have determined that the average cost of owning and operating a sedan was between $0.57

and $.608 per mile between 2011 and 2015 for drivers who drive a sedan approximately 15,000

miles per year. These figures represent a reasonable approximation of the average cost of owning

and operating a vehicle for use in delivering pizzas.

   14. The driving conditions associated with the pizza delivery business cause more frequent

maintenance costs, higher costs due to repairs associated with driving, and more rapid depreciation




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from driving as much as, and in the manner of, a delivery driver. RHH’s delivery drivers further

experience lower gas mileage and higher repair costs than the average driver used to determine the

average cost of owning and operating a vehicle described above due to the nature of the delivery

business, including frequent starting and stopping of the engine, frequent braking, short routes as

opposed to highway driving, and driving under time pressures.

   15. RHH’s reimbursement policy does not reimburse delivery drivers for even their ongoing

out-of-pocket expenses, much less other costs they incur to own and operate their vehicles, and

thus RHH uniformly fails to reimburse its delivery drivers at any reasonable approximation of the

cost of owning and operating their vehicles for RHH’s benefit.

   16. RHH’s systematic failure to adequately reimburse automobile expenses constitutes a

“kickback” to RHH such that the hourly wages it pays to Plaintiff and RHH’s other delivery drivers

are not paid free and clear of all outstanding obligations to RHH.

   17. RHH fails to reasonably approximate the amount of its drivers’ automobile expenses to

such an extent that its drivers’ net wages are diminished beneath the federal minimum wage

requirements.

   18. In sum, RHH’s reimbursement policy and methodology fail to reflect the realities of

delivery drivers’ automobile expenses.

RHH’s Failure to Reasonably Reimburse Automobile Expenses Causes Minimum Wage
Violations

   19. Regardless of the precise amount of the per-delivery reimbursement at any given point in

time, RHH’s reimbursement formula has resulted in an unreasonable underestimation of delivery

drivers’ automobile expenses throughout the recovery period, causing systematic violations of the

federal minimum wage.




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   20. Plaintiff Stayler has been paid as much as $7.75 per hour during his employment with

RHH, including a tip credit applied to the time he spent delivering pizzas.

   21. The federal minimum wage has been $7.25 per hour since July 24, 2009.

http://www.dol.gov/whd/minwage/chart.htm.

   22. Since his re-hire about January 2016, the per-delivery reimbursement rate at the store

where Plaintiff Stayler works has been approximately $1.00 per delivery.

   23. Throughout his employment with RHH, Plaintiff Stayler has experienced an average

round-trip delivery distance of about 5 miles per delivery.

   24. Thus, during the applicable limitations period, RHH’s average effective reimbursement

rate for Plaintiff Stayler has been approximately $0.20 per mile ($1.00 per delivery / 5 average

miles per delivery).

   25. During this same time period, the IRS business mileage reimbursement rate has ranged

between $.54 and $0.575 per mile, which reasonably approximates the automobile expenses

incurred delivering pizzas. http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. Using

the IRS rate as a reasonable approximation of Plaintiff Stayler’s automobile expenses, every mile

driven on the job decreases his net wages by approximately $0.34 ($.54 - $0.20) per mile.

Considering Plaintiff Stayler’s estimate of about 5 average miles per delivery, RHH under-

reimburses him about $1.70 per delivery ($0.34 x 5 miles).

   26. During his employment by RHH, Plaintiff Stayler has typically averaged about 2 deliveries

per hour.

   27. Thus, based on the IRS rate, Plaintiff Stayler has consistently “kicked back” to RHH

approximately $3.40 per hour ($1.70 per delivery x 2 deliveries per hour), for an effective hourly

wage rate of about $4.35 ($7.75 per hour - $3.40 kickback) or less.




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   28. All of RHH’s delivery drivers have had similar experiences to those of Plaintiff. They have

been subject to the same reimbursement policy; have received similar reimbursements; have

incurred similar automobile expenses; have completed deliveries of similar distances and at similar

frequencies; and have been paid at or near the federal minimum wage before deducting

unreimbursed business expenses.

   29. Because RHH has paid its drivers a gross hourly wage at precisely, or at least close to, the

federal minimum wage, and because the delivery drivers have incurred unreimbursed automobile

expenses, the delivery drivers have “kicked back” to RHH an amount sufficient to cause minimum

wage violations.

   30. While the amount of RHH’s actual reimbursements per delivery may vary over time, RHH

relies on the same flawed policy and methodology with respect to all delivery drivers at all of its

other Papa John’s stores. Thus, although reimbursement amounts may differ somewhat by time or

region, the amounts of under-reimbursements relative to automobile costs incurred are relatively

consistent between time and region.

   31. RHH’s low reimbursement rates have been a frequent complaint of at least some of RHH’s

delivery drivers, including Plaintiff, yet RHH has continued to reimburse at a rate much less than

any reasonable approximation of delivery drivers’ automobile expenses.

   32. The net effect of RHH’s flawed reimbursement policy is that it willfully fails to pay the

federal minimum wage to its delivery drivers. RHH thereby enjoys ill-gained profits at the expense

of its employees.

                                   Collective Action Allegations

   33. Plaintiff brings this FLSA claim as an “opt-in” collective action on behalf of similarly

situated delivery drivers pursuant to 29 U.S.C. § 216(b).




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   34. The FLSA claims may be pursued by those who opt-in to this case pursuant to 29 U.S.C.

§ 216(b).

   35. Plaintiff, individually and on behalf of other similarly situated employees, seeks relief on

a collective basis challenging RHH’s practice of failing to pay employees federal minimum wage.

The number and identity of other plaintiffs yet to opt-in may be ascertained from RHH’s records,

and potential class members may be notified of the pendency of this action via mail.

   36. Plaintiff and all of RHH’s delivery drivers are similarly situated in that:

       a.     They have worked as delivery drivers for RHH delivering pizza and other food

              items to RHH’s customers;

       b.     They have delivered pizza and food items using automobiles not owned or

              maintained by RHH;

       c.     RHH has required them to maintain these automobiles in a safe, legally-operable,

              and insured condition;

       d.     They have incurred costs for automobile expenses while delivering pizzas and food

              items for the primary benefit of RHH;

       e.     They have been subject to similar driving conditions, automobile expenses,

              delivery distances, and delivery frequencies;

       f.     They have been subject to the same pay policies and practices of RHH;

       g.     They have been subject to the same delivery driver reimbursement policy that

              under-estimates automobile expenses per mile, and thereby systematically deprived

              of reasonably approximate reimbursements, resulting in wages below the federal

              minimum wage in some or all workweeks;




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          h.    They have been reimbursed similar set amounts of automobile expenses per

                delivery;

          i.    They have been paid at or near the federal minimum wage before deducting

                unreimbursed business expenses; and

          j.    They have been subjected to the same tip credit.

                  Count I: Violation of the Fair Labor Standards Act of 1938

    37. Plaintiff reasserts and re-alleges the allegations set forth above.

    38. The FLSA regulates, among other things, the payment of minimum wage by employers

whose employees are engaged in interstate commerce, or engaged in the production of goods for

commerce, or employed in an enterprise engaged in commerce or in the production of goods for

commerce. 29 U.S.C. §206(a).

    39. RHH is subject to the FLSA’s minimum wage requirements because it is an enterprise

engaged in interstate commerce, and its employees are engaged in commerce.

    40. At all relevant times herein, Plaintiff and all other similarly situated delivery drivers have

been entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. §§ 201,

et seq.

    41. Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain categories of

employees from federal minimum wage obligations. None of the FLSA exemptions apply to

Plaintiff or other similarly situated delivery drivers.

    42. Under Section 6 of the FLSA, codified at 29 U.S.C. § 206, employees have been entitled

to be compensated at a rate of at least $7.25 per hour since July 24, 2009.




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   43. As alleged herein, RHH has reimbursed delivery drivers less than the reasonably

approximate amount of its automobile expenses to such an extent that it diminishes these

employees’ wages beneath the federal minimum wage.

   44. RHH knew or should have known that its pay and reimbursement policies, practices and

methodology result in failure to compensate delivery drivers at the federal minimum wage.

   45. RHH, pursuant to its policy and practice, violated the FLSA by refusing and failing to pay

federal minimum wage to Plaintiff and other similarly situated employees.

   46. Plaintiff and all similarly situated delivery drivers are victims of a uniform and employer-

based compensation and reimbursement policy. This uniform policy, in violation of the FLSA, has

been applied, and continues to be applied, to all delivery driver employees in RHH’s stores.

   47. Plaintiff and all similarly situated employees are entitled to damages equal to the minimum

wage minus actual wages received after deducting reasonably approximated automobile expenses

within three years from the date each Plaintiff joins this case, plus periods of equitable tolling,

because RHH acted willfully and knew, or showed reckless disregard for, whether its conduct was

unlawful.

   48. RHH acted neither in good faith nor with reasonable grounds to believe that its actions and

omissions were not a violation of the FLSA, and as a result, Plaintiff and other similarly situated

employees are entitled to recover an award of liquidated damages in an amount equal to the amount

of unpaid minimum wages under 29 U.S.C. § 216(b). Alternatively, should the Court find RHH is

not liable for liquidated damages, Plaintiff and all similarly situated employees are entitled to an

award of prejudgment interest at the applicable legal rate.

   49. As a result of the aforesaid willful violations of the FLSA’s minimum wage provisions,

minimum wage compensation has been unlawfully withheld by RHH from Plaintiff and all




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similarly situated employees. Accordingly, RHH is liable under 29 U.S.C. § 216(b), together with

an additional amount as liquidated damages, pre-judgment and post-judgment interest, reasonable

attorneys’ fees, and costs of this action.

   WHEREFORE, Plaintiff and all similarly situated delivery drivers demand judgment against

RHH and request: (1) compensatory damages; (2) liquidated damages; (3) attorneys’ fees and costs

as allowed by Section 16(b) of the FLSA; (4) pre-judgment and post-judgment interest as provided

by law; and (5) such other relief as the Court deems fair and equitable.

                                      Demand for Jury Trial

   Plaintiff hereby requests a trial by jury of all issues triable by jury.


Dated: April 21, 2016                                    Respectfully submitted,

                                                         /s/ Jonathan Lane_____________________
                                                         Terry Ann Rickson, Fed. Bar No. 3462
                                                         Jonathan G. Lane, Fed. Bar No. 12167
                                                         TERRY ANN RICKSON, ESQ., INC.
                                                         102 Wappoo Creek Drive, No. 8
                                                         Charleston, South Carolina 29412
                                                         Telephone:     (843) 722-1500
                                                         Facsimile:     (843) 722-7080
                                                         Email:         jonathan@ricksonlaw.com

 PAUL McINNES LLP                                        WEINHAUS & POTASHNICK
 Jack D. McInnes (MO Bar #56904)                         Mark A. Potashnick (MO Bar # 41315)
 (pro hac vice application forthcoming)                  (pro hac vice application forthcoming)
 601 Walnut, Suite 300                                   11500 Olive Blvd., Suite 133
 Kansas City, Missouri 64106                             St. Louis, Missouri 63141
 Telephone: (816) 984-8100                               Telephone:(314) 997-9150
 Facsimile: (816) 984-8101                               Facsimile: (314) 997-9170
 mcinnes@paulmcinnes.com                                 markp@wp-attorneys.com


                                    ATTORNEYS FOR PLAINTIFF




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